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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        Case No. 05-20859-CR-HUCK/O’SULLIVAN


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  RAUL J. GUTIERREZ,

       Defendant.
  ________________________________/

                                             ORDER

         THIS MATTER is before the Court on the Republic of Trinidad and Tobago’s

  Request for Judicial Notice to Determine Third-Party Interest in Property Subject to

  Forfeiture (DE# 747, 7/7/2010). Having reviewed the applicable filings and the law, it is

         ORDERED AND ADJUDGED that the Republic of Trinidad and Tobago’s

  Request for Judicial Notice to Determine Third-Party Interest in Property Subject to

  Forfeiture (DE# 747, 7/7/2010) is DENIED without prejudice to renew.

         Local Rule 88.9(a) provides that:

         at the time of filing motions in criminal cases, counsel for the moving party
         shall file with the Clerk of the Court a statement certifying either: (1) that
         counsel have conferred in a good faith effort to resolve the issues raised
         in the motion and have been unable to do so; or (2) that counsel for the
         moving party has made reasonable effort (which shall be identified with
         specificity in the statement) to confer with the opposing party but has been
         unable to do so.

  S.D. Fla. L.R. 88.9(a). The instant motion fails to comply with this rule. In the future,
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  counsel shall confer with the opposing side prior to filing any motions.

          DONE AND ORDERED, in Chambers, at Miami, Florida, this 12th day of July,

  2010.




                                            JOHN J. O’SULLIVAN
                                            UNITED STATES MAGISTRATE JUDGE

  Copies to:

  United States District Court Judge Huck
  All Counsel of Record
